                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

WANDA COOPER,                                 )
                                              )
                   Plaintiff                  )
                                              )   Civil Action
             vs.                              )   File 2:21-CV-00020-LGW-BWC
                                              )
TRAVIS MCMICHAEL, ET AL.,                     )
                                              )
                   Defendants.                )

  DEFENDANT GREGORY MCMICHAEL’S MOTION TO STAY DISCOVERY AND
         INCORPORATED MEMORANDUM OF LAW IN SUPPORT

       COMES NOW defendant Gregory McMichael (“defendant”) and files this motion to stay

discovery pending the resolution of all criminal charges against him. Criminal charges are

pending against defendant that arise from the same set of facts as those set forth in plaintiffs’

complaint. Because defendant’s Fifth Amendment rights with respect to those criminal

proceedings outweigh plaintiffs’ interests in pursuing these civil claims, the Court should stay

discovery in this matter until the pending state and federal criminal charges against defendant

have resolved.

                                     I.      BACKGROUND

       This lawsuit concerns the death of Ahmad Arbury, which occurred on February 23, 2020.

(Doc. 1, ¶ 1.) Defendant Gregory McMichael and two other defendants were arrested in

connection with Mr. Arbury’s death. (Id. ¶¶ 4, 169.)

       Criminal charges arising from Mr. Arbury’s death are currently pending against

defendant in the Superior Court of Glynn County, Georgia, Case No. CR-2000433. (See Glynn

County Superior Court No. CR-2000433, General Bill of Indictment (attached hereto as “Exhibit

A”).) That matter is scheduled for trial, with jury selection to begin on October 18, 2021. (See
Glynn County Superior Court No. CR-2000433, Trial Notice (attached hereto as “Exhibit B”).)

Federal charges are also pending against defendant in this Court. (See United States of America

v. Gregory McMichael, et al., S.D. Ga., 2:21-cr-00022-LGW-BWC, Doc. 1.)

                    II.    ARGUMENT AND CITATION TO AUTHORITY

        The Court should stay discovery in this matter because (1) the underlying facts in the

criminal cases and this civil case are the same; (2) defendant will be severely prejudiced in this

civil matter and in the pending criminal matters without a stay; and (3) a stay will serve judicial

economy and will not prejudice plaintiffs.

        This Court has broad discretion to manage the cases on its docket and to promote the

interest of justice in those cases. Chrysler Int’l Corp. v. Chemaly, 280 F.3d 1358, 1360 (11th Cir.

2002). This broad discretion encompasses the “management of pretrial activities [which]

include[es] discovery and scheduling.” Johnson v. Bd. of Regents Univ. of Ga., 263 F.3d 1234,

1269 (11th Cir. 2001); see also Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“the power to

stay proceedings is incidental to the power inherent in every court to control the disposition of

the causes on its docket with economy of time and effort for itself, for counsel, and for

litigants”).

        A motion to stay a civil action during the pendency of a criminal proceeding or

investigation should be granted when “special circumstances” so require in the “interests of

justice.” United States v. Lot 5, 23 F.3d 359, 364 (11th Cir. 1994) (quoting United States v.

Kordel, 397 U.S. 1, 12 n.27 (1970)). District courts within the Eleventh Circuit have considered

the following factors in determining whether the interests of justice require a stay: (1) the degree

to which the issues in the simultaneous civil and criminal proceedings overlap; (2) the extent to

which the defendant’s Fifth Amendment rights are implicated; (3) the interest of the plaintiff in



                                               -2-
proceeding expeditiously with this litigation and the potential prejudice to the plaintiff from

delay; (4) the burden any particular aspect of the proceedings may impose on the defendant; (5)

the efficient use of judicial resources; (6) the interests of persons not parties to the civil litigation;

(7) the interests of the public in the pending civil and criminal litigation; and (8) the status of the

criminal case, including whether the defendant has been indicted. Dean v. Douglas, No. 5:12-

CV-120 (CAR), 2012 U.S. Dist. LEXIS 175006, at *9 (M.D. Ga. 2012). In the case at hand, the

majority of these factors weigh in favor of a stay until the criminal proceedings are concluded.

    1. The Underlying Facts in the Criminal Proceedings and Civil Case Are the Same.

        “The degree to which the issues in the simultaneous civil and criminal proceedings

overlap is the most important threshold issue in deciding whether the court should stay the civil

proceeding.” SEC v. Healthsouth Corp., 261 F. Supp. 2d 1298, 1326 (N.D. Ala. 2003). This is

not a case where the criminal proceedings relate only tangentially to a pending civil case. Rather,

the issues are virtually identical. The indictment in the pending state court action includes the

following charges against defendant:

       Malice murder, O.C.G.A. § 16-5-1 (Glynn County Superior Court No. CR-2000433,

        General Bill of Indictment, Count 1, p. 3);

       Felony Murder, O.C.G.A § 16-5-1 (Id. at Counts 2-5, pp. 3-4);

       Aggravated Assault, O.C.G.A. § 16-5-21 (Id. at Count 6-7, pp. 4-5);

       False Imprisonment, O.C.G.A. § 16-5-41 (Id. at Count 8, p. 5)

Likewise, in the federal action, defendant has been indicted on the following charges:

       Interference with Rights, 18 U.S.C. § 245(b)(2)(B) and § 2 (2:21-CR-22-LGW-BWC,

        Doc. 1, Count 1, pp. 1-2);

       Attempted Kidnapping, 18 U.S.C. § 1201(a)(1), (d), and § 2 (Id. at Count 3, p. 4);


                                                  -3-
         Using, Carrying, and Brandishing a Firearm During and IN Relation to a Crime of

          Violence, 18 U.S.C. § 924(c) (Id. at Count 5, p. 6).

All of the charges in the state and federal proceedings arise out of the circumstances alleged in

plaintiffs’ complaint. Thus, this “most important threshold issue” favors staying discovery in this

matter.

   2. Defendant’s Fifth Amendment Rights Are Implicated and Those Rights Outweigh
      Plaintiffs’ Interest Proceeding Expeditiously With this Litigation or the Public’s
      Interest in the Criminal and Civil Matters.

          The Court should stay discovery in this matter pending resolution of the criminal charges

because defendant and his co-defendants will be prejudiced if they are forced to invoke their

Fifth Amendment right against self-incrimination at a deposition or trial in this matter. As one

court has observed, the choice of invoking the Fifth Amendment in a civil action comes with the

risk of adverse inferences, whereas participating fully in discovery in the civil action “could

cause irreparable harm and prejudice to Defendants in their criminal defenses.” Dean, 2012 U.S.

Dist. LEXIS 175006, at *11. Such a choice poses a “great likelihood for prejudice” that is not

overcome by the plaintiffs’ interest in the expeditious resolution of a civil case or the public’s

interest in the pending criminal and civil litigation. Id. at *11-14. Thus, these factors also tilt in

favor of granting a stay of discovery in this matter.

   3. The Charges Against Defendant Are Pending.

          Here, defendant has been indicted and is preparing to go to trial on the underlying

criminal charges in Glynn County Superior Court in approximately three (3) months (October

18, 2021) (see also Glynn County Superior Court No. CR-2000433 Trial Notice, May 7, 2021

(attached hereto as “Exhibit C”)). Further, defendant has been indicted on federal charges, which

are currently pending before this Court. U.S. v. Travis McMichael, et al., 2:21-cr-00022-LGW-



                                                  -4-
BWC. The status of the criminal cases against defendant, then, warrant a stay of discovery in this

civil matter.

    4. Allowing the Criminal Cases to Resolve Is a More Efficient Use of this Court’s
       Resources.

        As the Eleventh Circuit has noted, “[a]lthough stays delay civil proceedings, they may

prove useful as the criminal process may determine and narrow the remaining civil issues.”

Grand Jury Proceedings (Williams) v. United States, 995 F.2d 1013, 1018, n. 11 (11th Cir.

1993). “In addition, in the absence of a stay, discovery in the civil litigation will no doubt

become bogged down” because the “court will be forced to make numerous individual rulings on

what will likely be a long series of Fifth Amendment assertions.” United States v. All Meat &

Poultry Prods., No. 02 C 5145, 2003 U.S. Dist. LEXIS 17677, at *14 (N.D. Ill. Oct. 2, 2003).

Further, “a stay would promote efficiency and avoid duplication as the court would have the

benefit of the transcripts and rulings in the criminal action.” Stamile v. Cty. of Nassau, No. CV

10-2632 (SJF) (AKT), 2011 U.S. Dist. LEXIS 18697, at *21-22 (E.D.N.Y. Jan. 31, 2011).

Although a stay “may result in the immediate delay in the progress of the civil action, it is likely

that the resolution of the criminal action will, ultimately, further the Court’s interest in the

efficient disposition of the civil action.” Id. at *24. Thus, the interests of judicial economy will

be protected by a stay.

    5. The Co-Defendants’ Motions to Dismiss Also Warrant a Stay of Discovery.

        While this defendant has not moved to dismiss plaintiffs’ complaint, defendant notes that

others have. (See Docs. 57, 59, 63, 66, 67.) Many of these other defendants have already moved

to stay discovery while their motions to dismiss are under consideration. (See Docs. 68, 69, 70.)

Defendant agrees with his co-defendants that a motion to stay is warranted while the Court




                                               -5-
considers their motions to dismiss, and defendant incorporates herein their arguments in support

of their motions to stay (Docs. 68, 69, 70).

                                       III.    CONCLUSION

       For these reasons, defendant Gregory McMichael respectfully requests that this motion to

stay discovery be granted, and that this Court stay this matter until both the state and federal

criminal proceedings against defendant has been resolved.

       This 15th day of July, 2021.

                                               FREEMAN MATHIS & GARY, LLP

                                               /s/ Wesley C. Jackson
                                               Sun S. Choy
                                               Georgia Bar No. 025148
                                               schoy@fmglaw.com
                                               Wesley C. Jackson
                                               Georgia Bar No. 336891
                                               wjackson@fmglaw.com

                                               Attorneys for Defendant Gregory McMichael

100 Galleria Parkway
Suite 1600
Atlanta, Georgia 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)




                                                -6-
                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day electronically submitted the foregoing DEFENDANT

GREGORY         MCMICHAEL’S           MOTION        TO     STAY         DISCOVERY       AND

INCORPORATED MEMORANDUM OF LAW IN SUPPORT to the Clerk of Court using

the CM/ECF system which will automatically send electronic mail notification of such filing to

counsel of record who are CM/ECF participants. Counsel of record are:

            S. Lee Merritt                                    John Kennedy
           Daniel N. Purtell                             Rizqan Ahmad Quereshi
          John J. Coyle, III                                Tia M. McClenney
          Mark V. Maguire                                  William S. Weltman
     McEldrew Young Purtell Merritt                          Reed Smith, LLP
        123 South Broad Street                            599 Lexington Avenue
              Suite 2250                                        22nd Floor
        Philadelphia, PA 19109                            New York, NY 10022

             Noah Green                                  Raleigh W. Rollins , Jr.
       Appelbaum & Henefeld, PC                          Alexander & Vann, LLP
          9 Lenox Pointe NE                                401 Gordon Avenue
               Suite B                                   Thomasville, GA 31792
          Atlanta, GA 30324                                   229-226-2565

         Patrick T. O'Connor                            Richard K. Strickland
          Oliver Maner, LLP                  Brown, Readdick, Bumgartner, Carter, Strickland
         218 West State Street                             & Watkins, LLP
            P.O. Box 10186                                   P.O. Box 220
       Savannah, GA 31412-0386                             5 Glynn Avenue
                                                      Brunswick, GA 31521-0220

            James L. Elliott                              John J. Ossick , Jr.
           Elliott & Blackburn                           John J. Ossick, Jr., PC
          3016 N. Patterson St.                              P.O. Box 1087
          Valdosta, GA 31602                           Kingsland, GA 31548-9190

           James Kyle Califf
         Califf Law Firm, LLC
      3540 Wheeler Road, Suite 603
           Augusta, GA 30909


       This 15th day of July, 2021.

                                            -7-
                                    /s/ Wesley C. Jackson
                                    Wesley C. Jackson
                                    Georgia Bar No. 336891
                                    wjackson@fmglaw.com

FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway
 Suite 1600
Atlanta, Georgia 30339-5948
T: (770) 818-0000
F: (770) 937-9960




                              -8-
